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      ~AO 245B (CASD) (Rev, 1/12)    Judgment in a Criminal Case
                 Sheet I




                                                UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                          v.                                         (For Offenses Committed On or After November t 1987)
                                                                                                                             i3V--·"-'

                                 Paul Loaiza                                         Case Number: 09-cr-01336-JAH-I

                                                                                      Eugene G Ireda1e
                                                                                     Defendant's Attorney
     REGISTRATION J"IO. 13761298

     D
      THE DEFENDANT:
      [8] pleaded guilty to count(s) One of the superseding information.

      D was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly. the defendant is adjudged guilty of such count(s), which involve the fo Ilowing offense( s):
                                                                                                                                              Count
      Title & Section                          Nature of Offense                                                                            Number(s)
21 :841(a)(1) and 846;                  Conspiracy to Distribute and Possess with Intent to Distribute Marijuana                            1
21:853




         The defendant is sentenced as provided in pages 2 through _ _...:4_ _ of this judgment. The scntence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  D    The defendant has been found not gUilty on count(s)
                                                              ---------------------------------------------
                                                                           D are[8] dismissed on the motion ofthe United States.
  [8] count(s)..:,f.::;em:.:=:ai::..:n.:;,in:;;g:...-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is
  ~ Assessment: $100.00.



  [8] No fine                                         [8] Forfeiture pursuant to order filed _ _ _...:3;.:../4...:/..:.13:..-_ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change ofname, residence,
 or mailing address until all fines. restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                  NITED STATES DISTRICT JUDGE



                                                                                                                                            09-cr-01336-JAH-l
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AO 245B (CASD) (Rev, 1/12) Judgment in a Criminal Case
           Sheet 2   imprisonment

                                                                                             Judgment   Page _ _
                                                                                                               2_ of         4
 DEFENDANT: Paul Loaiza -1
 CASE NUMBER: 09-cr-01336-JAH-l
                                                         IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Seventy-eight months.



    o Sentence imposed pursuant to Title 8 USC Section l326(b).
    \81 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends the residential drug abuse program and that custody be served in California.




    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Om _______________ Oa.m.                        Op.m.        on
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before -----------------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                           UNITED STATES MARSHAL

                                                                   By
                                                                         ------~D~E~P~UT~Y~UN~IT~E~D~S~TA-T~E~S-M-A-R-S-H-A-L-------




                                                                                                                09-cr-01336-JAH-l
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           Sheet 3 ~ Supervised Release
                                                                                                               Judgment·-·Page __3__ of ___
                                                                                                                                          4_ __
DEFENDANT: Paul Loaiza -I                                                                              a
CASE NUMBER: 09-cr-01336-JAH-I
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Five years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a ~on.trolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month dunng
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with tfie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offcnder registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check ifapplicable.)
D:      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shaH work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shalI not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any tim!; at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  Il)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the d~fe.ndant shalI not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permiSSIOn of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          dcfendant's compliance with such notification requirement.

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       AO 245B (CASD) (Rev, lil2) Judgment in a Criminal Case
                  Sheet 4 Special Conditions
                                                                                                         Judgment-Page   - L - of _.....;;4~_ _
       DEFENDANT: Paul Loaiza -I
       CASE NUMBER: 09~cr-01336-JAH-l




                                             SPECIAL CONDITIONS OF SUPERVISION
Igj Submit person, residence, office or vehicle to a ~earch, conducted by a U~ited States ~rob~tion Officer ~~ a reasonable ti~e and in a .
    reasonable manner, based upon reasonable SuspICIOn of contraband or eVIdence of a vIOlatIon of a condItIon of release; faIlure to submIt to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
Igj Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
Igj Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controIled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o   Take no medieation containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurrin~. new credit charges or opening additional lines of credit without approval of the
    probation officer.
o   Seek and maintain full time employment andlor schooling~r a combination of both.
o   Resolve all outstanding warrants within                days.
o   Complete            hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

Igj Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release ofinformatiQll between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                  09-cr~1336-JAH-l
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  2                                                                   MAR - 4 2013
  3                                                             eLi.'!.K. I..~: DI~TRICT. ~o<J~- ,,'
                                                             SOUTi'lERN tllSil!ICT OF C",UORN1'V .
                                                             BY                              OEPu,
  4
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  6
  7
   8                           UNITED STATES DISTRICT COURT
   9                        SOUTHERN DISTRICT OF CALIFORNIA
 10     UNITED STATES OF AMERICA,                       Case No, 09cr1336-JAH
  11                         Plaintiff,
                                                         ORDER OF CRIMINAL
  12           v.                                        FORFEITURE
  13    PAUL LOAIZA (1),
  14                         Defendant.
  15
  16           WHEREAS, in the Superseding Indictment and Bill of Particulars in the
  17     above-captioned case, the United States sought forfeiture of all right, title and
  18     interest in specific properties of the above-named Defendant, PAUL LOAIZA (1),
  19     pursuantt021 U.S.C. § 853 as properties constituting and derived from proceeds the
  20     Defendant obtained directly or indirectly as the result ofthe commission of, or were
  21     used or intended to be used to commit or facilitate a crime in violation of, Title 21,
  22     United States Code, Section 841(a)(1) and 846, as charged in the Superseding
  23     Indictment; and
  24           WHEREAS, on September 1, 2010, the plea of Defendant, which plea
  25     included consent to the criminal forfeiture allegation pursuant to Title 21 as set forth
  26     in the Superseding Indictment, was accepted by the U.S. District Court; and
  27     II
  28     II
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  1           WHEREAS, by virtue of the facts set forth in the plea agreement, the
  2     United States has established the requisite nexus between the forfeited properties
  3     and the offense; and
  4           WHEREAS, the assets to which Defendant pled are in the process of being
  5     forfeited under the Preliminary Orders of Criminal Forfeiture of co-defendants
  6     Ernesto Prado-Buzo (8) and Jonathon Jesus Milan (9); and
  7           WHEREAS, the United States, having submitted the Order herein to the
  8     Defendant through his attorney ofrecord, to review, and no objections having been
  9     received;
 10           Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
 11           1.     Based upon the guilty plea ofthe Defendant, all right, title and interest
 12     of Defendant PAUL LOAIZA (1) in the following properties are hereby forfeited to
 13     the United States:
 14           1.     United States currency in the amount of$33,61S seized from defendant
                     Danny' Elia Saeed Daly on December 11, 2008, and having
 15                  Unite a States Drug Enforcement Administration (hereafter "DEA")
                     Asset Identification Number 09-DEA-S09387.
 16
              2.     United States .currency in the amount of $18468 seized from
 17                  codefendant Paul Loaiza on March 19~ 2009, and having DEA Asset
                     Identification number 09-DEA-S1370k.
 18
              3.     United States currency in the amount of $3 110 seized from Dan
 19                  Fleyschman on March 19,2009, and having DEA Asset Identification
                     number 09-DEA-SI3704.
 20
              4.     United States currency in the amount of $1 261 seized from
 21                  codefendant Paul Loaiza on March 19.z 2009, and having DEA Asset
                     Identification number 09-DEA-SI370J.                        .
 22
              5.     United States currency in the amount of$921 seized from codefendant
 23                  Zacarias Felix-Cutino and having DEA Asset Identification number
                     09-DEA-513706.
 24
              6.     Sixty-five (6S) American Express Travelers Chegues having a total
 25                  value of $6,SOO, seized from codefendant Paul Loaiza and Tatiana
                     Maribel Torres on March 19, 2009, and having DEA Asset
 26                  Identification number 09-DEA-S13707.
 27           7.     United States currency in the amount of $40 SOO seized from
                     codefendant Edon Moyal on March 19, 2009, and having DEA Asset
 28                  Identification number U9-DEA-SI3709.

                                                  2                               09cr1336
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   1           2.    Because ancillary proceedings have been conducted pursuant to the
   2     forfeiture orders of other co-defendants in this case, no ancillary proceedings or
   3     further forfeiture action is required as to Defendant PAUL LOAIZA (1).
   4
   5           DATED:    :> ..L( - \::5
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